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                                  UNITED STATES DISTRICT COURT
 8
                             NORTHERN DISTRICT OF CALIFORNIA
 9
                                     SAN FRANCISCO DIVISION
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11    IN RE: UBER TECHNOLOGIES, INC.,             Case No. 3:23-md-03084-CRB
      PASSENGER SEXUAL ASSAULT
12    LITIGATION                                  [PROPOSED] ORDER REGARDING
                                                  MOTION TO SUBSTITUTE LAW FIRM
13
      This Document Relates to:                   Judge:     Hon. Charles R. Breyer
14                                                Courtroom: 6 – 17th Floor
     ALL MATTERS, 3:23-md-03084-CRB
15
     And
16
     Jane Doe LSA 340 v. Uber Technologies,
17
     Inc., et al., No. 3:23-cv-01165-CRB
18
   Katherine Hylin v. Uber Technologies, Inc.,
19 et al., No. 3:23-cv-01630-CRB

20 Jane Doe v. Uber Technologies, Inc., et al.,
   No. 3:23-cv-05227-CRB
21
   E.R. v. Uber Technologies, Inc., et al., No.
22 3:23-cv-02051-CRB

23
   A.G. v. Uber Technologies, Inc., et al., No.
24 3:23-cv-02071-CRB

25 Taylor Gavin v. Uber Technologies, Inc., et
   al., No. 3:23-cv-02111-CRB
26
   Cynthia Crawford v. Uber Technologies,
27 Inc., et al., No. 3:23-cv-02290-CRB

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      [PROPOSED] ORDER REGARDING MOTION TO                               Case No. 3:23-md-03084-CRB
      SUBSTITUTE LAW FIRM
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     A.M. v. Uber Technologies, Inc., et al., No.
 1
     3:23-cv-03406-CRB
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   A.H.M. v. Uber Technologies, Inc., et al.,
 3 No. 3:23-cv-03482-CRB

 4 H.B. v. Uber Technologies, Inc., et al., No.
   3:23-cv-03488-CRB
 5
   Jane Doe LS 16 v. Uber Technologies, Inc.,
 6 et al., No. 3:23-cv-03758-CRB

 7
   Jane Doe LS 75 v. Uber Technologies, Inc.,
 8 et al., No. 3:23-cv-03805-CRB

 9 Jane Doe LS 134 v. Uber Technologies,
   Inc., et al., No. 3:23-cv-03811-CRB
10
   Jane Doe LS 348 v. Uber Technologies,
11 Inc., et al., No. 3:23-cv-03816-CRB

12 D.P. v. Uber Technologies, Inc., et al., No.

13 3:23-cv-03846-CRB

14 Ashley Jones v. Uber Technologies, Inc., et
   al., No. 3:23-cv-03851-CRB
15
   S.D. v. Uber Technologies, Inc., et al., No.
16 3:23-cv-03852-CRB

17 Jane Doe F-1 v. Uber Technologies, Inc., et

18 al., No. 3:23-cv-03945-CRB

19 Jane Doe LS 90 v. Uber Technologies, Inc.,
   et al., No. 3:23-cv-03956-CRB
20
   Jane Doe LS 237 v. Uber Technologies,
21 Inc., et al., No. 3:23-cv-03973-CRB

22 Jane Doe LS 231 v. Uber Technologies,
   Inc., et al., No. 3:23-cv-04367-CRB
23

24 K.H. v. Uber Technologies, Inc., et al., No.
   3:24-cv-02840-CRB
25
   Z.W. v. Uber Technologies, Inc., et al., No.
26 3:24-cv-02844-CRB

27 S.A. v. Uber Technologies, Inc., et al., No.
   3:24-cv-02845-CRB
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      [PROPOSED] ORDER REGARDING MOTION TO                            Case No. 3:23-md-03084-CRB
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  M.H. v. Uber Technologies, Inc., et al., No.
1 3:23-cv-06200-CRB

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      [PROPOSED] ORDER REGARDING MOTION TO                         Case No. 3:23-md-03084-CRB
      SUBSTITUTE LAW FIRM
     Case 3:23-md-03084-CRB          Document 3143         Filed 06/03/25     Page 4 of 4



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2                                         [PROPOSED] ORDER
3            Having considered Defendants Uber Technologies, Inc., Rasier, LLC, and Rasier-CA,
4     LLC’s (collectively, “Uber”) Motion to Substitute Law Firm, all other papers and evidence
5     submitted in support and opposition, the pertinent pleadings and papers on file in this action, and
6     the arguments of counsel, and all other matters presented to the Court, it is hereby ORDERED that
7     the Motion is GRANTED. Accordingly, the substitution of attorneys and firm is hereby approved.
8            IT IS SO ORDERED.
9

10    Dated: _____________,
              June 3        2025
                                                   HON. CHARLES R. BREYER
11                                                 UNITED STATES DISTRICT COURT JUDGE
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      [PROPOSED] ORDER REGARDING MOTION TO                                  Case No. 3:23-md-03084-CRB
      SUBSTITUTE LAW FIRM
